
974 So.2d 1280 (2008)
In re Gregory VAN JUDICE.
No. 2008-B-0340.
Supreme Court of Louisiana.
February 20, 2008.

ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, Gregory Van Judice, Louisiana Bar Roll number 24481, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ Catherine D. Kimball
Justice, Supreme Court of Louisiana
